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United States District Court
Southern District of Texas
FILED
AUG 18 2019
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS David J. Brecley, Clerk
MCALLEN DIVISION
UNTED STATES OF AMERICA

eq

§
y. CRIMINAL NO. | M-19 - 15 02

SYLVIA GARCES VALDEZ §
SEALED INDICTMENT

THE GRAND JURY CHARGES:

From at least June 4, 2018 and continuing through at least November 2018, in the Southern
District of Texas, the defendant,

. SYLVIA GARCES VALDEZ

did corruptly give, offer, or agree to give a thing of value to any person intending to influence and
reward an agent of the City of La Joya, a local government that received benefits in excess of
$10,000 pursuant to a Federal program involving a grant, contract, subsidy, loan guarantee, and
other forms of Federal assistance in 2018, in connection with any business, transaction, or series
of transactions of such State government and agency involving something of value of $5,000 or
more: namely, Defendant gave, offered, and agreed to give cash to Person A intending to influence
and reward Person B, an elected official for the City of La Joya, for their influence in granting a

public relations contract to the Defendant.

All in violation of Title 18, United States Code, Sections 666(a)(2) and 2.
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NOTICE OF CRIMINAL FORFEITURE
18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c)

Pursuant to Title 18, United States Code, Section 981(a)(1)(C), and Title 28, United States

Code, Section 2461(c), the United States gives notice to the defendants,
SYLVIA GARCES VALDEZ
that upon conviction for the offense in this Indictment, all property, real or personal, which
constitutes or is derived from proceeds traceable to such offense, is subject to forfeiture.
Property Subject to Forfeiture

The property subject to forfeiture is approximately $10,000.00. In the event that a
condition listed in Title 21, United States Code, Section 853 exists, the United States will seek to
forfeit any other property of the defendant in substitution up to the total value of the property

subject to forfeiture. The United States may seek the imposition of a money judgment.

A TRUE BILL
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‘FOREPERSON _
RYAN K. PATRICK
UNITED STATES ATTORNEY
AY; Cuan

 

ASSISTANT UNITED STATES ATTORNEY
